
MEMORANDUM **
Attorney Dean Kalivas appeals pro se from the Bankruptcy Appellate Panel’s (“BAP”) order affirming the bankruptcy court’s order dismissing his adversary complaint. We have jurisdiction under 28 U.S.C. § 158(d). We review BAP decisions de novo and use the same standard used by the BAP to review the bankruptcy court’s decision. Busseto Foods, Inc. v. Laizure (In re Laizure), 548 F.3d 693, 696 (9th Cir.2008). We affirm.
The BAP properly affirmed the bankruptcy court’s conclusion that the district court did not act until it had obtained relief from the automatic stay, and therefore did not violate the automatic stay. The BAP also properly affirmed the bankruptcy court’s determination that its order granting relief from the automatic stay so that the district court could enter judgment necessarily included entry of findings of fact and conclusions of law. See Fed. R.Civ.P. 52(a) (requiring separate entry of findings of fact and conclusions of law following a bench trial).
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9 th Cir. R. 36-3.

